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                         United States District Court
                           SOUTHERN DISTRICT OF CALIFORNIA


Strike 3 Holdings, LLC
                                                           Civil Action No. 17CV2317-JAH(BLM)

                                             Plaintiff,
                                      V.
John Doe, subscriber assigned IP address                     JUDGMENT IN A CIVIL CASE
76.172.87.57


                                           Defendant.


Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
or heard and a decision has been rendered.

IT IS HEREBY ORDERED AND ADJUDGED:
On March 9, 2018, Defendant filed a Notice of an Offer of Judgment pursuant to Federal
Rule of Civil Procedure 68. On March 22, 2018, Plaintiff filed its Notice of Acceptance of Offer of
Judgment along with a true and correct copy of Defendant’s Offer of Judgment for, inter alia,
$3,250.00. Plaintiff received a check for the complete amount on April 17, 2018. Defendant has fully
satisfied the monetary portions of the Judgment and Plaintiff desires to release Defendant from the
monetary portions of the Judgment and acknowledges that said monetary portions of the Judgment
have been fully and completely satisfied.




Date:          5/18/18                                        CLERK OF COURT
                                                              JOHN MORRILL, Clerk of Court
                                                              By: s/ J. Petersen
                                                                                   J. Petersen, Deputy
